                  Case 6:21-cv-00043-ADA-JCM Document 15 Filed 02/18/21 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the

                                                         Western District of Texas
                                                     __________              __________

   LATINOS FOR TRUMP, BLACKS FOR TRUMP,                                )
   BIANCA GRACIAS, JOSHUA MACIAS, JEREMY                               )
              BRAVO, M.S., J.J.,                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 6:21-CV-00043
                                                                       )
  PETE SESSIONS, MITCH McCONNELL, NANCY
                                                                       )
PELOSI, MARK ZUCKERBERG, CHUCK SCHUMER,
ALL MEMBERS OF THE 117TH U.S.CONGRESS, ALL
                                                                       )
  50 STATE GOVERNORS AND SECRETARIES OF                                )
                  STATE,                                               )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           Ashley C. Hoff, United States Attorney
To: (Defendant’s name and address) U.S. Attorney’s Office, Western District of Texas
                                           800 Franklin Avenue, Suite 280
                                           Waco, Texas 76701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Paul M. Davis
                                           Paul M. Davis & Associates, P.C.
                                           3245 Main St.
                                           Suite 235-329
                                           Frisco, TX 75034


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
